





















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. PD-0355-14



DANIEL SCOTT JOHNSON, Appellant
                  
v.

THE STATE OF TEXAS



ON APPELLANT’S PETITION FOR DISCRETIONARY REVIEW
FROM THE TENTH COURT OF APPEALS
LIMESTONE COUNTY



&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.  Keasler and Hervey, JJ., dissent.

O R D E R 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant has failed to file copies of his petition for discretionary review as required
by Rule of Appellate Procedure 9.3(b)(2) and Order Requiring Copies (Court of Criminal
Appeals Misc. Docket No. 13-004, December 16, 2013). The petition for discretionary
review violates Rule of Appellate Procedure 68.4(j),  because the petition does not contain
a copy of the opinion of the court of appeals.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petition is struck.  See Rule of Appellate Procedure 68.6.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The petitioner may redraw the petition.  The redrawn petition and copies must be filed
in the Court of Criminal Appeals within thirty days after the date of this order.
Filed:&nbsp;May 7, 2014
Do Not Publish


